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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
In Re: }
)
) Case No. 04-B-24393
VICK] E. ESRALEW j Chapter 7
)
Debtor. )
ROLLIN J, 8SOSKIN, EUGENE )
TERRY, NICOLE TERRY and }
TERRY'S COMPANY, INC. )
Plaintiffs, )
)
v5. ) Adversary Proceeding
) Na. 04 A 3774
)
VICKI E. ESRALEW, } Judge Geldgar
}

Defendant.

PLAINTIFES'’ ANSWERS TO INTERROGATORIES

NCOFW COME the Plaintiffs, Rollin J. Soskin, Eugene Terry, Nicole Terry and Terry's
Company, by and through their attorney, Thomas C. Crooks, and in answer to defendant’s first

set of interrogatorics, state as follows:

INTERROGATORIES

1. State the full name of the individual answering, assisting in the answering of
signing of these interrogatories, as well as their current residence address, date of birth and social
accurity number.

ANSWER: Rollin J. Soskin, 9933 Lawler Avenue, Suite 312, Skokie, [llinmeis 60077, Eugene
Terry, 1891 Old Briar, Highland Park, Illinois, 60038.
2. Identify each person who witnessed or claims to have witnessed or otherwise has

information tegarding any occurrence that is the subject of the adversary complaint.
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ANSWER: Plaintiffs, Vicki Esralew, Robert Aren, Peter Abruzzo, Bernard Filler, Anthony
Nasharr, Robert Blagman, Leonard Makowka, Stephen Santowski, Alan Young, Arthur Evans,
Michael Resnick, Robert Leeper, David Dorfman, Lori Brandel, Helene Esralew, Howard
Esralew, Jordan Berger, Edward Chalfie, Gary Levenstein, Wesley Nissen, E. Michacl Ciesla,
Mark Robbins, Jo Ann Livingston, Bruce Rosenblum, Josh Harris, Peter Weil, Jonathan
Rothschild, Jerry Barasch, Bruce Brandel, Beryl Wolk, Jim Robinson, Jennifer Merlin, Neil
Reisman, Howard Samuels, Cindy Capitani. Plaintiff, Investigation continues.

3. For cach person identified in response to interrogatory no, 2, please state with
specificity the event(s) they claim or are believed to have witnessed and state with specificity the
information you believe they possess.

ANSWER: — Plaintiff's abject to interrogatory no. 3 as it calls for a narrative and is best
answered via deposition, Without waiving this objection plaintiffs state as fallows:

Vicki Esralew - facts surrounding entry into agrcement and advisors consulted;
Defendants’ sophistication, unclean hands, including but not limited to evidence that Defendants
never intended to honor the agreement of the parties, Defendants’ fraudulent inducement of
Plaintiffs, Defendants’ statements against interest, Defendants’ fraud, breach of contract and
breach of fiduciary duties,

Robert Aren - facts surrounding entry into agreement and advisors consulted: Defendants’
sophistication, unclean hands, including but not limited to evidence that Defendants never
intended to honor the agreement of the parties, Defendants” fraudulent inducement of Plaintiffs,
Defendants’ statements against interest, Defendant's fraud, breach of contract and breach of

fiduciary duties.
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Peter Abruzzo - facts surrounding entry into agreement and advisors consulted;
Deiendants’ sophistication, unclean hands, including but not iimited to evidence thal Defendants
never intended to honor the agreement of the parties, Defendants’ fraudulent inducement of
Plaintiffs, Defendants’ statcments against intercst, Defendants’ fraud, breach of contract and
breach of fiduciary duties

Bernard Filler - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Anthony Nasharr - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Robert Blagman - facts surrounding entry into agreement and advisors consulted:
Defendants’ sophistication, unclean hands, including but not limited to evidence that Defendants
never intended to henor the agreement of the parties, Defendants’ fraudulent inducement of
Piaintifts, Defendants’ statements against interest, Defendants’ fraud, breach of contract and
breach of fiductary dutics

Leonard Makowka - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Stephen Santowski - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Alan Young - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Arthur Evans - Defendants’ sophistication, Defendants’ statements against interest,

Defendants’ fraud, breach of contract and breach of fiduciary duties
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Michael Resnick - Defendants’ sophistication, Defendants’ statements against intercst,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Robert Leeper - - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Jordan Berger - Defendants’ sophistication, Defendants’ statements against intercst,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Edward Chalfie - - Defendants’ sophistication, Defendants’ stalements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary dutics

Gary Levenstein - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Wesley Nissen - Defendants” sophistication, Defendants” statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

E. Michael Ciesla - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Mark Robbins - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Jo Ann Livingston - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Peter Weil - facts surrounding entry into agrecment and advisors consulted; Defendants’
sophistication, unclean hands, including but not limited to evidence that Defendants never

intended to honor the agreement of the parties, Defendants’ fraudulent inducement of Plaintifis,
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Defendants’ statements against interest, Defendants’ fraud, breach of contract and breach of
fiduciary dutics

Jonathan Rothschild - Delendants’ sophistication, Defendants’ statements against
interesl, Defendants’ fraud, breach of contract and breach of fiduciary duties

Bruce Brandel - - facts surrounding entry into agreement and advisors consulted;
Defendants* sophistication, unclean hands, including but not limited to evidence that Defendants
never intended te honor the agreement of the parties, Defendants’ fraudulent inducement of
Plaintiffs, Defendants’ statements against interest, Defendants’ fraud, breach of contract and
breach of fiduciary duties

Beryl Wolk - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Jim Robinson - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Jennifer Merlin - Defendants’ sophistication, Defendants” statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary cuties

Neil Reisrnan- Defendants’ sophistication, Defendants’ statements against intercst,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Howard Samuels - Defendants’ sophistication, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Cindy Capitani Defendants’ sophistication, Defendants’ statements against interest,

Deiendants’ fraud, breach of contract and breach of fiduciary duties
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Plaintiffs - facts surrounding entry into apresment and advisors consulted; Defendants’
sophistication, unclean hands, including but not limited te evidence that Defendants never
intended to honor the aproement of the parties, Defendants’ fraudulent inducement of Plaintiffs,
Defendants’ stalements against interest, Defendants’ fraud, breach of contract and breach of
fiduciary duties
Investigation continues.

4, Please provide the name and address of each opinion witness who will offer any
testimony and slate:

(a) The subject matter on which the opinion witness is expected fo testify;

{b) The conclusions and/or opinions of the opinion witness and the basis therefore,

including reports of the witness, if any;

{c) The qualifications of each opinion witness, including a curriculum vitae and for

resume, if and;

(d) The identity of any written reports of the opinion witness regarding this

occurrence.
ANSWER: None at this time, investigation continues.

5. Please identify anyone you believe may be in possession of documents relevant to
any issuc in the adversary complaint. For each person identify with specificity what documents
you believe to be in their possession.

ANSWER: Defendants - company and personal records relating to entry into agreement and
advisors consuited, Defendants’ sophistication, unclean hands, including but not limited to

evidence that Defendants never intended to honor the agreement of the patties, Defendants’
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fraudulent inducement of Plaintiffs, Defendants’ statements against intercst, Defendants’ fraud,
breach of contract and breach of fiduciary duties

Nei! Reisman - records relating to assets converted and opportunities diverted from Kids
Count Entertainment, L.L.C. and creative efforts of Vicki Esralow which were conlractually the
property of Kids Count.

Vickilew, Inc. - records relating to assets converted and opportunities diverted from Kids
Count Entertainment, L.L.C. and creative efforts of Vicki Esralew which were contractuaily the
property of Kids Count,

Robert Leeper - records relating to assets converted and opportunities diverted from Kids
Count Entertainment, L.L.C. and creative efforts of Vicki Esralew which were contractually the
property of Kids Count.

Robert Blagman - company and personal records relating to entry into agreement and
advisors consulted; Defendants’ sophistication, unclean hands, including but not limited to
evidence that Defendants never intended to honor the agreement of the parties, Defendants’
fraudulent inducement of Plaintiff and the Tetrys, Defendants’ statements ayainst interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Anthony Nasharr - records relating to assets converted and opportunities diverted from
Kids Count Entertainment, L.L.C. and creative efforts of Vicki Esralew which were contractually
the property of Kids Count.

Peter Abruzzo - company and personal records rclating to cniry into agreement and
advisors consulted; Defendants’ sophistication, unclean hands, including but not limited te

evidence that Defendants never intended to honor the agreement of the parties, Defendants’
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fraudulent inducement of Plaintiff and the ‘Terrys, Defendants’ slatements against intercst,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Peter Weil - company and personal records relating to entry into agreement and advisors
consulted; Detendants’ sophistication, unclean hands, including but not limited to evidence that
Defendants nevet intended to honor the agrcement of the parties, Defendants’ fraudulent
inducement of Plaintiff and the Terrys, Defendants’ statements against interest, Defendants’
fraud, breach of contract and breach of fiduciary duties

Bruce Brandel - company and personal records relating to entry into agrecment and
advisors consulted; Defendants’ sophistication, unclean hands, including but nol limited to
evidence that Defendants never intended ta honor the agreement of the parties, Defendants’
fraudulent inducement of Plaintiff and the Terrys, Defendants’ statements against interest,
Defendants’ fraud, breach of contract and breach of fiduciary duties

Investigation continues.

i. Identify all lawsuits in which you have been a defendant from 1988 to present. For
each lawsuit please state the following:

(a) the court in which the suit was filed and the case number:

(b) the parties to the lawsuit:

(c} the nature of the allegations which formed the basis of the lawsuit;

(d) the outcome of the lawsuit;

(¢) state whether discovery was taken and identify all depositions taken,

ANSWER: None.
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Rollin J. Rosin "

Eugene Terry

Nicole Terry

Terry’s Company

Thomas C. Crooks

Attorney for Plaintiff

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Nicole Terry

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